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14
                               UNITED STATES DISTRICT COURT
15
                             CENTRAL DISTRICT OF CALIFORNIA
16
                                          WESTERN DIVISION
17

18     SHANGHAI LAN CAI ASSET                         Case No. 2:18-cv-10255-SJO-MRW
       MANAGEMENT CO, LTD.,
19
                                                      FINAL JUDGMENT
20                          Petitioner,
                                                      Hon. S. James Otero
21
       v.
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23
       JIA YUETING,

24                          Respondent.
25

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       _____________________________________________________________________________________________
                                       [PROPOSED] FINAL JUDGMENT
     Case 2:18-cv-10255-SJO-MRW Document 35 Filed 04/07/19 Page 2 of 3 Page ID #:500


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28                                [PROPOSED] FINAL JUDGMENT
     Case 2:18-cv-10255-SJO-MRW Document 35 Filed 04/07/19 Page 3 of 3 Page ID #:501


 1           Upon the Court’s consideration of Petitioner Shanghai Lan Cai Asset
 2     Management Co, Ltd.’s Petition to Confirm Arbitration Award (Dkt. No. 1),
 3     Petitioner’s Memorandum in Support (Dkt. No. 1-1), Respondent Jia Yueting’s
 4     Memorandum in Opposition (Dkt. No. 25), Petitioner’s Reply Memorandum (Dkt.
 5     No. 29), and all supporting documents submitted together with these documents,
 6           IT IS HEREBY ORDERED, ADJUDICATED, AND DECREED, for the
 7     reasons set forth in this Court’s Order Granting Petition to Confirm Arbitration
 8     Award (Dkt. No. 31) dated March 26, 2019, that judgment is entered against
 9     Respondent Jia Yueting and in favor of Petitioner Shanghai Lan Cai Asset
10     Management Co, Ltd., in the amount of RMB 83,337,726.91, inclusive of pre- and
11     post-award interest as of April 1, 2019, in the amount of RMB 32,510,958.91, plus
12     post-judgment interest to run on the above amounts as provided by 28 U.S.C. § 1961.
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       DATED: April 7, 2019.
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                                                   United States District Judge
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28                                 [PROPOSED] FINAL JUDGMENT
